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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                  ) Chapter 7
                                                        )
JC USA, Inc. d/b/a Jenny Craig, et al. 1                ) Case No. 23-10585 (JKS)
                                                        )
                          Debtors.                      ) (Jointly Administered)

                       ORDER SCHEDULING OMNIBUS HEARING DATE

         Pursuant to Del. Bankr. L.R. 2002-1(a), the Court has scheduled the following omnibus

hearing date in the above-captioned cases:

         Date & Time                                            Location

August 15, 2024 at 11:00 a.m. (ET)                     U.S. Bankruptcy Court for the District of Delaware
                                                       824 N. Market Street, 5th Floor, Courtroom No. 6
                                                       Wilmington, DE 19801




                                                                      J. KATE STICKLES
    Dated: July 11th, 2024                                            UNITED STATES BANKRUPTCY JUDGE
    Wilmington, Delaware



1
 The Debtors in these cases, along with the last four digits of their federal tax identification numbers, are: JC USA,
Inc. (0028), JC Franchising, Inc. (7656), New JC Holdings, Inc. (1506), JC Acquisition, Inc. (2395), JC Inter.
Holdings, Inc. (3621) and JC Hold, LLC (4170).


{01913292;v1 }
